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Exhibit 5

FISC case U.S. District Court of Eastern District of Louisiana, New Orleans
Division Vicki McLean, ET AL EX REL USA VS UNITED NATIONS, ET
AL 18-CV-3701 filed April 9, 2018 under the Patriot Act
under Judge Martin Feldman
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UNITED STATES OF AMERICA ESPIONAGE ACT OF 1917

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vs IMMIGRATION ACT OF 1924
UNITED NATIONS - SEDITION ACT OF 1918
1945 TO PRESENT |
MCCARRAN ACT OF 1952
UNITED NATIONS SECURITY
COUNCIL 1945 TO PRESENT TRADING WITH THE ENEMY
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1945 TO PRESENT CORRUPT ORGANIZATIONS
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UNITED NATIONS DEVELOPMENT
GROUP 1945 TO PRESENT

DEFENDANTS

INTRODUCTION

The United Nations is the ruling world organization for New World Order
established on Oct. 24, 1945. The North Atlantic Treaty was signed on April 4,
1949 which established the North Atlantic Treaty Organization. The North Atlantic
Treaty Organization per the treaty subjects itself to the mission statement and
charter of the United Nations making the North Atlantic Treaty a New World
Order treaty that determines when nations will unite together to declare war on a
nation. The United Nations replaced the League of Nations established on Jan. 20,
1920. The United States was not a part of the League of Nations, the first World

Order original ruling organization.

The Federal Reserve Cartel members as early as 1900 organized politically under
the Inter-Parliamentary Union (IPU) had access to the technology needed to
establish the illegal global underground mind control systems and global HAARP
weather modification weapons to control the globe under a unified system known
today as New World Order. The IPU was the forerunner for the establishment of
the League of Nations. The top U.S. universities coordinating with the NAZI
Kaiser Wilhelm Society now known as Max Planck Society, and U.S. National
Institute of Health worked with the Inter-Parliamentary Union, Federal Reserve
Cartel, League of Nations, United Nations, and American Law Institute to provide

U.S. monetary strategy, U.S. governmental policy strategy, U.S. labor strategy,
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U.S. immigration strategy, U.S. treaty and tariff strategy, technology research
strategy, global industry strategy, and global false flag war strategy to overthrow
the legitimate U.S. government established under the U.S. Constitution. The top
universities involved in establishing the mind control system and HAARP weather
modification weapon and providing U.S. monetary strategy, U.S. governmental
policy strategy, U.S. labor strategy, U.S. immigration strategy, U.S. treaty and
tariff strategy, technology research strategy, global industry strategy, and global
false flag war strategy were Harvard University, Columbia University,
Massachusetts Institute of Technology, Princeton University, Stanford University,
University of California, University of Chicago, University of Pennsylvania, Yale
University, and Duke University. The American Law Institute provided huge
support to undermine the U.S. Constitution as the Supreme Law of the United
States. Federal Reserve Cartel is defined as a group of international banker families
who control the globe’s industries and banks which include the following family
clans: Rothschild, Rockefeller, Warburg, Schiff, Kuhn-Loeb, Morgan, Goldman-
Sachs, David-Weill, Seiff, Stillman, Davison, Lehman

World Order easily used the League of Nations to declare war against Germany,
Italy, and Japan known as World War II. The United Kingdom and France declared
war against Germany on Sept. 1, 1939 to start World War II. United Kingdom and
France were members of the League of Nations. The United States allies that
belonged to the League of Nations lured the United States into World War II easily
under Democratic U.S. President Franklin Roosevelt. The United States was never
attacked on domestic soil by Germany, Italy, or Japan. U.S. President Roosevelt
continued during World War II to put U.S. commercial ships and military ships in

harm’s way when he refused to discontinued oil shipments to J apan that required
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commercial ships to enter war zones. The communist spies within the United
States Department of Defense intentionally coordinated with U.S. President
Franklin Roosevelt by positioning up to 18 military ships at Pearl Harbor when
Hawaii was not a part of the United States. All nations belonging to the League of
Nations following the orders of World Order controlled by the Federal Reserve
Cartel with Democratic U.S. President Franklin Roosevelt carefully crafted the
Pearl Harbor event on Dec. 7, 1941 to lure the United States to declare war on
December 8-11, 1941 against Japan, Germany, and Italy not being a threat to the
United States on domestic soil maintaining domestic tranquility. World War II

officially ended on Sept. 2, 1945.

The Global International Bankers also known as the Federal Reserve Cartel and the
League of Nations interest in luring the United States into World War II were
linked to the following events to overthrow the legitimate U.S. Government

established under the U.S. Constitution:

e 1901 -Albert Einstein born in Germany a theoretical physicist became a
stateless citizen a charade in 1901 and then acquired citizenship in
Switzerland in 1905. Einstein acquired Austrian citizenship in 1911.

e 1911 - the founding of the Kaiser Wilhelm Society for the Advancement of
Science in the German Empire in 1911 under the Third Reich involved in
NAZI scientific operations, and after World War II as the Max Planck
Society under prominent directors such as Albert Einstein, Fritz Haber, Otto
Hahn. For greater understanding see the Kaiser Wilhelm Society from
Wikipedia

e 1913 —Establishment of the third U.S. National Bank after being without a
U.S. National Bank since 1836 through the unconstitutional Federal Reserve

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Act of 1913 under the communist Democratic U.S. President Woodrow
Wilson

1914 - World War I duration was from July 28, 1914 to Nov. 11, 1918
United States was lured into World War I by Communist Democratic U.S.
President Woodrow Wilson

1914 - Kaiser Wilhelm Institute for Brain Research founded in 1914 in
Berlin by Oskar Vogt received funds from Rockefeller.

1917 - Kaiser Wilhelm Institute for Physics founded in 1917 with Albert
Einstein as director from 1917-1933

(1920 - Establishment of the League of Nations an international organization

founded on Jan. 10, 1920 resulting from the Paris Peace Conference in 1919
that ended World War I

1921 - Albert Einstein visits the United States beginning in April 1921-1922
lecturing at Columbia University and Princeton University and visited the
White House with the National Academy of Science. On his return home to
Germany Einstein visited London and lectured at King’s College in London.
1922 - Albert Einstein from 1922-1923 visited Singapore, Japan, Spain, and
Palestine.

1923 - American Law Institute was established on Feb. 23, 1923.

From American Law Institute from Wikipedia

- “Criticisms”

“The late Supreme Court Justice Antonin Scalia offered a criticism of ALI's

approach to restatement:

I write separately to note that modern Restatements—such as the Restatement

(Third) of Restitution and Unjust Enrichment (2010), which both opinions
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address in their discussions of the disgorgement remedy—are of questionable
value, and must be used with caution. The object of the original Restatements
was "to present an orderly statement of the general common law." Restatement
of Conflict of Laws, Introduction, p. viii (1934). Over time, the Restatements’
authors have abandoned the mission of describing the law, and have chosen
instead to set forth their aspirations for what the law ought to be. ..
Restatement sections such as that should be given no weight whatever as to the
current state of the law, and no more weight regarding what the law ought to be
than the recommendations of any respected lawyer or scholar. — Justice

Antonin Scalia, dissenting opinion, Kansas v. Nebraska, February 25, 2015”

© 1922-1932 - Einstein was involved with the League of Nations being a
member of the International Committee on Intellectual Cooperation from

Wikipedia:

The International Committee on Intellectual Cooperation (sometimes

League of Nations Committee on Intellectual Cooperation ICIC) was an

advisory organization for the League of Nations which aimed to promote
international exchange between scientists, researchers, teachers, artists and

intellectuals. Established in 1922, it counted such figures as Henri Bergson,

Albert Einstein, Marie Curie, Gonzague de Reynold and Robert A. Millikan

among its members. The Committee was the predecessor to UNESCO, and all

of its properties were transferred to that organization in 1946.

The last session took place in 1939, but the ICIC was only formally dissolved in
1946, like the League of Nations.
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The United Nations Educational, Scientific and Cultural Organization
(UNESCO; is a specialized agency of the United Nations (UN) based in Paris.

Its declared purpose is to contribute to peace and security by promoting
international collaboration through educational, scientific, and cultural reforms

in order to increase universal respect for justice, the rule of law, and human

rights along with fundamental freedom proclaimed in the United Nations

Charter. It is the successor of the League of Nations’ International Committee

on Intellectual Cooperation.)

UNESCO pursues its objectives through five major programs: education,

natural sciences, social/human sciences, culture and

communication/information. Projects sponsored by UNESCO include literacy,
technical, and teacher-training programs, international science programs, the

promotion of independent media and freedom of the press, regional and cultural

history projects, the promotion of cultural diversity, translations of world

literature, international cooperation agreements to secure the world's cultural

and natural heritage (World Heritage Sites) and to preserve human rights, and

attempts to bridge the worldwide digital divide. It is also a member of the

United Nations Development Group.

UNESCO promotes the academic mobility network an informal association of
universities and government programs that encourages the international

exchange of higher education students (academic mobility).

Students choosing to study abroad (International students) aim to improve their
own social and economic status (a patriot to New World Order is a dangerous
threat to the United States and all nations) by choosing to study in a nation with

better systems of educations than their own. This creates movement of students,

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usually South to North and East to West. It is predicted that citizens of Asian
nations, particularly India and China, will represent an increasing portion of the
global international student population. (United Nations continues to aid India
and China to steal intellectual property and brain capital of the United States by
the International Student Exchange Program that gives no benefits to the U.S.
and steals U.S. Education funds from U.S. Students a violation of the U.S.
Constitution, International in Traffic in Arms Act, and Trading with the Enemy
Act. All immigrant professors and immigrant students including dreamers and
anchor babies and immigrant professors with fraudulent U.S. Citizen working
in University Research Programs and the mind control systems coordinated
together having access to all university research are equated to foreign spies and
are in violation of the International Traffic In Arms Regulation Act. All are
connected to the global university mind control system stealing U.S. intellectual
property and passing it mostly to China and India today the major participants
in UNESCO. This is why Homeland Security Agency are arresting more illegal
immigrants at the Mexican border from India and China taking this illegal entry

route into the U.S. to supplement secrecy underground operations.

e 1926 - Kaiser Wilhelm Institute for Comparative and International Private
Law was founded in 1926 in Berlin by Ernst Rabel as director from 1926-
1939. As a member of the International Institute for the Unification of
Private Law from 1928-1933 he became involved with the League of
Nations and his report was the precursor for the United Nations “Uniform
Law of International Sales” due to his work under the American Law
Institute (ALI). Ernst Rabel began doing research for the American Law
Institute soon after he emigrated to the United States in 1939. The ALI
“Statement of Essential Human Rights” of 1944 was published by the
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Americans United for World Organizations, Inc. in 1945 and used to prepare
the United Nations “Universal Declaration of Human Rights” on Dec. 10,
1948 for the General Assembly.

1930 - Kaiser Wilhelm Institute for Cell Physiology was founded in 1930 by
the Rockefeller Foundation and Otto Heinrich Warburg.

1931 - Einstein visits the United States again from 1931-1933 and claims
refugee status in the United States in 1933. Einstein was a German citizen
from 1914-1933

1933 - U.S. Banking Act of 1933

1935 - Unconstitutional Social Security Act was passed in 1935 under
communist Democratic President Franklin Roosevelt to increase drastically
the Federal Reserve Cartel slush funds to fund the United Nations and New
World Order’s agenda providing stolen U.S. Citizens social security
numbers to immigrants not entitled to a social security number until
becoming a U.S. Citizen. Also provided massive pension funds for the
Federal Reserve Cartel to illegally invest for their profit that belonged to the
U.S. Citizens.

1935 -Albert Einstein applied for U.S. Citizenship in 1935 and becomes a
US. Citizen in 1940 before the U.S. enters World War II. Einstein carried
citizenship with Switzerland also not needing to emigrate to the U.S. except
for espionage activities for the Federal Reserve Cartel and League of
Nations.

1939 - Ernst Rabel director of the Kaiser Wilhelm Institute for Foreign and
International Private law emigrated to the United States in 1939 continuing
his work through research grants from the American Law Institute,

Harvard University, University of Michigan and Ann Arbor.
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© 1939 - Unconstitutional Manhattan Project with Albert Einstein’s

endorsement was started secretly by communist Democratic U.S. President
Roosevelt in August 1939 establishing the Advisory Committee on Uranium
under the National Bureau of Standards which later became the National
Defense Research Committee on June 27, 1940 outside the authority of the
U.S. President under the Executive Branch.

1941 - June 28, 1941 Unconstitutional executive order 8807 was signed by
President Franklin Roosevelt creating the Office of Scientific Research and
Development with Vannevar Bush as the director authorizing the
Department of Defense to engage in large engineering projects with addition
research outside the authority of the U.S. President under the Executive
Branch setting up the secret underground mind control systems,
underground military bases, and the global weather modification weapons
with intent to share the technology with all nations for the United Nations,
Federal Reserve Cartel, and New World Order.

1941- Dec. 8, 1941 the United States was manipulated into World War II by
the communist Democratic U.S. President Franklin Roosevelt and the
communist heads of the Department of Defense.

1943 - Unconstitutional Quebec Agreement was negotiated by U.S.
President Roosevelt and UK Prime Minister Winston Churchill on August
1943 coordinating the British Tube Alloys Project with the U.S. Manhattan
Project establishing the Combined Policy Committee which was not within
the authority of the U.S. President under the U.S. Constitution.

1944 - Unconstitutional Hyde Park Agreement Sept. 1944 renewing the
Quebec Agreement and establishing the unconstitutional Combined

Development Trust a defense purchasing authority by the governments of

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the United States and the United Kingdom. Only the U.S. Congress has the
authority to create agencies and authorize purchasing and spending.

1945 - Joint Chiefs of Staff established the first secret recruitment program,
called Operation Overcast on July 20, 1945 to aid postwar research. This
was changed to Operation Paperclip in Nov. 1945 to attach a paperclip to the
rocket experts whom they wished to employ in America which expanded to
include 1000 of approximately 1600 German scientists, engineers, etc.
brought to the U.S. under the unconstitutional Manhattan Project. Russia had
a moved in 2000 NAZI German scientists under Operation Osoaviakhim.
The German Scientists involved in the Kaiser Wilhelm Society were
distributed all over the globe to establish the United Nations global mind
control system and global weather modification systems for New World
Order for the Federal Reserve Cartel to control all nations. The movement of
1600 German scientists and engineers into the United States was a violation
of the U.S. Immigration Laws especially the Alien Registration Act of 1940
and the McCarran Act of 1951 not having permission to leave Germany
being loyal to the Fifth Reich being a theft of Germany’s “Brain Capital
Labor.”

1945 - United Nations was established on Oct. 24, 1945 and the United
States was manipulated by communists Democratic President Harry Truman
and Democratic President Franklin Roosevelt to become one of the leading
members of the United Nations establishing the headquarters in New York.
This was unconstitutional because the Charter for the United Nations is in
violation of the U.S. Constitution and the US. President, Secretary of
Defense, of the Secretary of State had no constitutional authority to

negotiate foreign relations agreements being the power of U.S. Congress.

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1946 - The United Nations Educational, Scientific and Cultural Organization
was established.
1946 - On Sept. 3, 1946 President Truman officially approved Operation
Paperclip likely through an unconstitutional executive order placing 1000
active NAZI Communist German Scientists under “temporary, limited
military custody.” A U.S. President and Secretary of Defense have no
authority under the U.S. Constitution to alter U.S. Immigration Laws or
policies for entry into the United States and to give U.S. Jobs and benefits to
immigrants especially members of the Fifth Reich in violation of U.S.
Trading with the Enemy Act.
1965 - Social Security Amendments Act of 1965 was passed under
communist Democratic U.S. President L. B. Johnson that started Medicare
and Medicaid which are massive slush funds for the Federal Reserve Cartel

_ due to the illegal double billing system for all services on all patients in
every type of hospitals since 1965 till present day.
1976 - Unconstitutional Refugee Act of 1976 was passed under Communist
Democratic U.S. President Jimmy Carter to support the refugee agenda of
the United Nations that was never ruled on by the Supreme Court. The
Supreme Court is being requested to rule on the constitutionality of the
Refugee Act of 1976 that rewards immigrants for violating their nations laws
leaving without permission a clear violation of the U.S. Constitution and
gives an immigrant U.S. benefits that only can be given to real authentic
U.S. Citizens another violation of the U.S. Constitution and then gives them
U.S. citizenship a violation of the U.S. Immigration and Naturalization laws
having violated the U.S. Laws and their own nations laws.

1990 — Gulf Wars

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1992 — Bosnian War with the United Nations involvement.

1994 - NAFTA was passed under Communist Democratic U.S. President
William Clinton that allowed the Canadian and Mexican companies to bring
in steel and aluminum for the illegal expansion of the underground without
tariffs, so the steel and aluminum could not be traced easily.

1998 — Kosovo War with the United Nations involvement

2001- Afghanistan War with the United Nations involvement

2003- Iraq War with the United Nations involvement

2009- Sept. 23, 2009 Democratic U.S. President Barack Obama took
Chairmanship of the United Nations Security Council Violations of Article 1
Section 9 of the U.S. Constitution.

2010 - OBAMACARE the Patient Protection and Affordable Care act of
2010 another unconstitutional act was passed under Communist Democratic
U.S. President Barack Obama. This act greatly increased the slush funds for
the Federal Reserve Cartel while allowing immigrants, legal and illegal to
acquire Health insurance funded by the U.S. and State Governments only
real authentic U.S. Citizens are entitled to have.

2011 — Syrian War with the United Nations involvement.

2012 — 2014 Democratic U.S. President Barack Obama wrote Executive
Orders outside his authority as a U.S. President and Executive Officer to
shield illegal immigrants, and their children in violation of the U.S.
Immigration Laws, Patriot Act, and Espionage Act to protect the dreamers
and anchors babies working in the college mind control systems and other

illegal underground operations.

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ARGUMENT

The list provided above was to give substantial evidence that the United Nations
from inception was a communist organization whose goals are the Federal Reserve
Cartel and New World Order goals not in alignment with the U.S. Constitution.
After joining the United Nations, the United States was lured into a series of false
flag wars inside foreign countries that never involved a direct threat to the United
States citizens on domestic soil. These false flag wars in violation of the U.S.
Constitution has cost U.S. military lives and theft of U.S. funds by the United
Nations and the Federal Reserve Cartel to promote their false flag war agendas.
United Nations the ruling organization for Federal Reserve Cartel and New World
Order participates in controlling the citizens and governments of all nations with
having specific population goals for every nation which involves daily genocide
acts carried out in every nation under the global illegal mind control systems
operated by the colleges and universities and HAARP weather modification
systems throughout the globe. The United Nations steals the U.S. Citizens funds
yearly who never authorized the U.S. involvement in the United Nations to fund
operations for the Federal Reserve Cartel and New World Order. There is no
excuse for the United Nations not to know that the Charter of the United Nations is
in violation of the U.S. Constitution. The Supreme Court has never been allowed to
rule on the constitutionality of the United States belonging to the United Nations,
North Atlantic Treaty Organization, and the North Atlantic Treaty whose mission
is to put other citizens and other nations’ interest in front of the real authentic U.S.

Citizens.

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All the wars the United States has participated in since World War I have been false
flag wars orchestrated by Federal Reserve Cartel, United Nations, and New World
Order agents inside governments of all nations with the help of the United Nations

for the following reasons:

1. To distract the real authentic U.S. Citizens with war efforts while hundreds of
thousands of New World Order Foreign Cartel members are entering (entering
with and without inspection, through unconstitutional unilateral executive
orders or agreements allowing entry under refugee or trafficking victim status)
into the United States to aid New World Order to overthrow the legitimate
United States Government by providing labor and illegal funding for
establishing the illegal underground operations and to continue to expand, and
maintain illegal underground military bases and the illegal underground mind
control systems throughout the United States while increasing the Federal
Reserve Cartel Slush funds for espionage activities inside and outside the

United States.

2. To move more members of New World Order Mafia Gang agents into the
‘US. and into federal, state, and local government positions.

3. To enlarge the wealth and technology abilities of the private owned Defense
and Aerospace Industry inside the United States under the control of the
Federal Reserve Cartel for future planned projects under DARPA, Manhattan
Project, U.S. Atomic Energy Commission, University Research Programs,
and U.S. research projects.

4. To kill and severely injure many of the male native-born real authentic U.S.
citizens during false flag war efforts overseas who are resistant to New World
Order by using many of the New World Order Mafia Gang agents inside the
U.S. military in top military positions. Due to General Dwight Eisenhower

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involvement with the Manhattan Project it is reasonable to conclude that
General Eisenhower was a New World Order Mafia Gang agent inside the
U.S. Military. Due to the Pearl Harbor event it is also reasonable to know all
the generals responsible for placing all those Navy ships at the same port at
the same time were also New World Order Mafia Gang agents inside the U.S.
Military. New World Order Mafia Gang members continue to frame, injure,
and kill all U.S. Military and U.S. veterans inside the United States using their
members inside the college illegal mind control systems staff mostly with
immigrants (academic mobility network), dreamers, and anchor babies.

. To enable immigrants who are not U.S. citizens to join the U.S. military to
assist New World Order in hindering the U.S. military success in New World
Order False Flag wars until the war objectives of New World Order have been
achieved. The duration of a false war is determined by the objectives to be
accomplished for Federal Reserve Cartel and United Nations which often
involve the following:

e Acquiring land and mineral assets that are owned by the country or its’
citizens by making the land location war zones areas.

e Removing the current government regime ruling over the foreign nation
opposing New World Order.

e Moving massive numbers of refugees to developed nations for
subversive activities for Federal Reserve Cartel and United Nations
inside the United States and European nations. Citizens and family
members chosen for refugee status by New World Order Mafia Gangs
in foreign nations would have been active members aiding New World
Order activities in their native country whose families were guaranteed
early removal to aid in subversive activities in developed countries. At
some future time, the participants in the subversive operations in the

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foreign country are promised to be allowed to join their families in the
developed countries once a replacement for their position is
accomplished in their native country. Operation Paperclip was a similar
operation that finalized the Manhattan Project movement of NAZI
scientists, doctors, engineers, professors, etc. during and after World
War II to the United States illegally given them refugee and asylum visa
status. Likely the reason why so many foreigners have been allowed to
enter the U.S. Military with so many doctors from the U.S. and other
countries to assist in assignments overseas and on mission trips are as
follows:

e Completion of planned underground development in foreign countries

e Establishment of underground research and cloning centers inside
undeveloped countries

e Development of nuclear reactors

e@ Removal of minerals like oil, uranium, etc.

To weaken the U.S. Citizens family units financially and mentally by

removing the male head for false flag war efforts overseas.

_ To move more foreign professional immigrants into the United States who

worked in underground operations aboard for the Federal Reserve Cartel and

the United Nations to work in the yearly expansion of the US. illegal

underground military bases and illegal underground mind control systems

similar to the Manhattan Project and Operation Paperclip.

_ To move foreign immigrants into the United States to steal U.S. jobs to

weaken the American families financially while drastically increasing the

Federal Reserve Cartel slush funds for illegal espionage activities.

_ To move in massive numbers of poverty-stricken groups claiming asylum,

refugee, immigrant minor, stateless person, internally displaced person, and

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trafficking victim status to steal state and federal benefits especially Medicaid
and Medicare benefits that uses the double billing of all services on all patients
in every hospital to drastically increase the Federal Reserve Cartel slush funds
for illegal espionage activities.

10.To move in massive numbers of Federal Reserve Cartel, League of Nations,
and United Nations trusted foreign professors to participate in university
research and supervision of the college mind control staff displacing the
American professors more and more forcing more and more to work overseas
to maintain their university professor employment.

11. To move in massive numbers of foreign engineers, scientists, computer
specialists, etc. into American corporations and permanently displacing the
American professionals to gain better control over all corporations inside the
United States and force more and more of the American professionals to work
overseas to maintain their professional employment.

12.To move in Federal Reserve Cartel, League of Nations, and United Nations
trusted foreign doctors to aid in intentionally misdiagnosing the U.S. citizens’
diseases falsely labeling millions yearly with a cancer diagnosis to depopulate
the native-born American citizens murdering them by using the biological
weapons of chemotherapy and radiation therapy. While the foreign doctors
are killing millions of Americans each year with Chemotherapy and Radiation
Therapy developed by the Kaiser Wilhelm Institute members the US.
hospitals are double billing for all the services for all patients while in the
hospitals. The foreign doctors inside the United States are noted to drastically
abuse Medicaid and Medicare using the illegal double billing of all services
on all patients by doing massive numbers of illegal hospital admissions,
ordering excessive unnecessary tests and procedures not related to the

intentionally upgraded diagnosis, illegally extending the hospital stays of

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patient, and illegally transferring patients to other hospitals to extend their
hospital stays. All these abuses to Medicaid and Medicare by foreign doctors
drastically increases the Federal Reserve Cartel slush fund which was the
subject of Vicki McLean’s New Orleans first false claim case 07-9717 filed
on Dec. 20, 2007 in U.S. District Court of Eastern Louisiana in New Orleans.
The illegal employment of foreign physicians in the United State forces the
American physicians to work overseas in order to maintain employment as a
physician.

13.To move more members of New World Order Mafia Gang agents into the
U.S. and into federal, state, and local government positions.

14.To enlarge the wealth and technology abilities of the private owned Defense
and Aerospace Industry inside the United States under the control of the
Federal Reserve Cartel for future planned projects under DARPA, Manhattan
Project, U.S. Atomic Energy Commission, University Research Programs,

and U.S. research projects.

The true victims of false flag wars are never allowed to leave their native
countries. For these reasons it is reasonable to conclude refugees from all nations
are mostly members of New World Order Mafia Gangs aboard being transferred
to the United States. All refugees should be deported. All refugees should be
categorized as members of New World Order Mafia Gangs being aided to
obtained refugee status to illegal steal U.S. and States benefits and U.S.

employment to aid to overthrow the legitimate U.S. government.

All college graduate refugees should be forced to return to their native country
and never given permanent residency and citizenship being a greater threat to the

national security risks.

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No matter what the circumstances, no matter what age, no matter what type of
abuse it should be assumed all immigrants entering the United States were aided
by the New World Order Mafia Gangs to aid subversive activities for the Federal
Reserve Cartel, League of Nations, and United Nations. All future immigrants
coming into the United States should be denied and all current refugees, asylum
seekers, trafficking victims, immigrant minors, stateless persons, and internally
displaced persons should be immediately detained and deported being supporters
of subversive activities increasing the national security risks for the real authentic
U.S. citizens. The fact that all immigrants and their children entering the United
. States will be issue a stolen social security number and a U.S. Citizens’ job to
increase the Federal Reserve Cartel slush funds makes all immigrants a high

national security risk involved directly in money laundering.

The following goals were accomplished by the Federal Reserve Cartel, League of
Nations, and the United Nations to provide massive Federal Reserve Cartel slush
funds to accomplish and expand the underground college and university mind
control systems with underground railways, underground military bases with
underground railways, detention centers above and below the ground, and the

global weather modification weapon systems:

1. Expansion of college and university research programs with massive
increase in numbers of immigrants involved in the research programs.

2. Development of more and more colleges and universities across the U.S. and
globe.

3. Expansion of federal and corporation college scholarship and grant programs
with providing more to immigrants each year instead of real authentic U.S.

Citizens to work in the college mind control systems and research programs.

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. Funding for corporations to drill and cement the underground. This included
the break-up of the Standard Oil Corporation to lessen the risk of discovery
for the Rockefeller family who owned the Standard Oil Company.
Halliburton and Schlumberger are the dominant companies used globally for
underground cementing.

. Funding for corporations to provide steel, aluminum, and telecommunication
equipment for the underground. The U.S. Steel Corporation founded by J.P.
Morgan was a major provider of steel and aluminum prior to 1994. Massive
expansion of the United States underground operations was planned to begin
in 1994. To decrease the risk of discovery for U.S. Steel corporations,
President Clinton signed NAFTA removing tariffs on steel and aluminum
imported from Canada and Mexico. The removal of tariffs on steel,
aluminum, and telecommunication equipment would make it harder to trace
the funding of the equipment being used for global secret underground
operations. Dominant Canadian and Mexican steel, aluminum, and
telecommunication equipment providers for secret underground operations
inside the United States under NAFTA are: Dofasco, Arcelor Mittal Dofasco
(India owned), Essar Steel Algoma, Algoma Steel, Essar Group, Arcelor
Mittal (India owned), Ispat International, Nynex, Altos Hornos De Mexico,
Deacero, Ternium. These tariffs need to be reinstated. This is also why
Amazon was set up in 1994 illegally being allowed not to charge sales taxes
to lessen the ability to track goods used in the underground purchased in
other States and foreign countries. Amazon, Inc. continues with Bitcoin to
be a major entity used to money launder equipment and funds for global
underground operations. All sales tax needs to be charged on all Amazon,

Inc. sales including third party sales.

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. Funding corporations to provide the electric, water, and computer systems
for underground operations. General Electric financed through J.P. Morgan
likely is dominant in these areas.

. Funding corporations to provide electric self-propelled rail cars and rail
lines, motors, refrigeration, and air conditioning. General Motors Electro-
Motive Division with the Rand Corporation likely were dominant in these
areas. Kuhn, Loeb, and Company was dominant in providing financing to
railroad systems before 1950. In 2005 GM sold Electro-Motive Diesel
(former Electro-Motive Division) to Berkshire Partners and Greenbriar
Equity Group. General Motors was also able to provide electronic data
systems (information technology), refrigeration and air conditioning.

. Funding corporations to provide for the telecommunication systems. AT&T
was the dominant player in the early years. Planning for massive expansion
of the underground with needing to distribute the risk of discovery, the
break-up of AT&T was orchestrated in the 1980's. The break-up of AT&T
paved the way for numerous cable companies, broadcasting systems,
wireless cellular providers, and internet providers to be used by the college
and university mind control systems to control the U.S. population. More
telecommunication companies were needed to access the growing
population microchips, to communicate to individuals by way of cell phone
text to assist mind control operators, to alter records and erase records
contained on cell phones, tablets, laptops, computers etc. Companies used to
access electronic devices routinely are: Microsoft, Inc. Apple, Inc., Google,
Yahoo, Facebook, Twitter, Instagram, Snapchat, Bloomberg, etc.

. Massive migration into the United States to provide immigrant labor, legal
and illegal (all immigration is illegal because no immigrant labor was ever

needed for legal operations inside the United States from 1913-present) for

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the underground beginning in 1917 under the Bracero Program. Immigrants,
legal and illegal, were illegally allowed to contribute to the social security
system to fund the Federal Reserve Cartel slush funds. No immigrant, legal
or illegal should ever possess a social security number not being a U.S.
Citizen. This is one of the tell-tale signs of a stolen social security number.
The immigrant children and grandchildren would also be given stolen social
security numbers since their parents were not legitimate U.S. Citizens. The
immigrant mother likely is the determining factor for the children being
given stolen social security numbers when the father is a U.S. Citizen. Their
immigrant children were illegally allowed to be registered by their
immigrant parents in free public schools stealing U.S. and states education
funds a tell tale sign that the immigrant parent and immigrant child are given
stolen social security numbers violating U.S. laws.

10.Massive “brain capital” migration into the United States to provide
professional immigrant labor force for the university and college research
programs, mind control systems, and underground operations. Professional
immigrants were illegally allowed to contribute to the social security system
to fund the Federal Reserve Cartel slush funds. No immigrant, legal or
illegal should ever possess a social security number and be allowed to
contribute to the U.S. Citizens social security system. This is one of the tell-
tale signs of a stolen social security number. Their immigrant children were
illegally allowed to be registered by their immigrant parents in free public
schools stealing U.S. and states education funds a tell tale sign that the
immigrant parent and immigrant child are given stolen social security
numbers violating U.S. laws.

11.Establishing of Federal sponsored public works projects to finance secret

underground operations using immigrant labor force who contributed

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illegally to the social security system to fund the Federal Reserve Cartel
slush funds. Immigrant labor used for the secret underground operations was
one of the motives for establishing the REX 84 Program to capture illegal
aliens who might attempt mass exodus from the United States when illegal
martial law is established over all U.S. residents. REX 84 Program is
additional evidence that legal and illegal immigrants have knowledge they
are using social security numbers owned by U.S. Citizens given to them by
Federal Reserve Cartel.

12. Establishing of numerous independent U.S. agencies to aid the Federal
Reserve System to make sure the U.S. Congress and the Executive Branch
were limited in auditing all industries linked to the underground operations.

13.Establishing independent U.S. agencies to provide assassins to control
witnesses, to control the U.S. Patriots, to provide a foreign militia to
suppress U.S. Patriot revolutions, and to provide a militia to suppress foreign
nations revolutions.

14.Providing professional immigrants employment within the Federal and State
Legislatures, Federal and State Law enforcement agencies, Federal and State
Judicial Systems, U.S. Executive Branch, and State and Local governmental
offices to violate the real authentic U.S. Citizens Constitutional rights while
illegally providing U.S. Constitutional rights to immigrants, legal and illegal
supporting the missions of the Federal Reserve System, Federal Reserve
Cartel, United Nations and NATO in opposition to the U.S. Constitution.

15.Requiring the U.S. government to borrow funds from Foreign governments
to pay the yearly U.S. expenditures in violation of the U.S. Constitution so
the Federal Reserve Cartel can steal from the U.S. slush funds to expand

underground operations inside and outside the United States.

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From the U.S. Constitution

“We the people of the United States, in Order to form a more perfect Union,
establish Justice, insure domestic tranquility, provide for the common
defense, promote for the general Welfare, and secure the Blessing of Liberty,
to ourselves and our Posterity, do ordain and establish the Constitution for

the United States of America”

e We the people of the United States
defines the people to be only the real authentic U.S. Citizens who have
acquired citizenship from obedience to the United States Immigration and

Naturalization laws and U.S. Laws.

The U.S. Constitution is written only for the U.S. Citizens and their children
not for the immigrant minor, refugee, trafficking victim, asylum seeker,
slave, internally displaced person, stateless person, another nation, or any
corporate entity like the United Nations or North Atlantic Treaty

Organization.

e in order to form a perfect Union
The citizens of the United States and their children unite together to form a
perfect union.
The Legislature Branch, Executive Branch, Judicial Branch, and the States

are to unite together to see that no immigrant minor, refugee, trafficking

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victim, asylum seeker, slave, internally displaced person, stateless person,
another nation, or any corporate entity like the United Nations or North
Atlantic Treaty Organization divide the union of the citizens of the United

States governed by the Supreme Law of the Land the U.S. Constitution.

Establish Justice
Under the U.S. Constitution Article 1 Section 1

The U.S. Congress is given the power to make, change, and repeal laws

according to the Supreme Law of the land the U.S. Constitution.

From the U.S. Constitution Article 1 Section 8
“Congress is to define and punish piracies and felonies committed on the

high seas, and Offences against the Law of nations.”

Congress defines a refugee, trafficking victim, slave, asylum seeker,
stateless person, internally displaced person, immigrant minor, and foreigner
from the Immigration and Naturalization laws and punishes them for
offences against the Laws of Nations for leaving their country without
permission and/or entering the United States without permission, for

violation of U.S. Laws, for treason, and for piracy on the high seas.

The United Nations and the North Atlantic Treaty Organization has no say
as to how the U.S. Congress addresses a refugee, trafficking victim, asylum
seeker, slave, internally displaced person, stateless person, immigrant minor,
and foreigner. The U.S. Constitution is the Supreme Law of the land on

these subjects

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From the U.S. Constitution Article 1 Section 9

“The migration or importation of such persons as any of the States now
existing shall think proper to admit,”

“The Privilege of Writ of Habeas Corpus (to arrest and detain) shall not be
suspended, unless when in cases of rebellion or invasion the public safety

may require it.”

No state should allow the migration or importation of persons into their state
that is not according to the U.S. Immigration and Naturalization laws, U.S.
Law and laws of other nations and are not to allow immigrant minors,
refugees, slaves, asylum seekers, stateless persons, internally displaced
persons, or trafficking victims to be imported from other nations which is the
theft of the labor force of another nation. Congress under the U.S.
Constitution regulates all relations and commerce with foreign nations. It is
against the U.S. Constitution to allow immigrant minors, refugees trafficking
victims, asylum seekers, stateless persons, internally displaced persons,
foreigners and slaves to migrate into any state. The U.S. congress is to see
that all refugees, trafficking victims, slaves, stateless persons, internally
displaced persons, foreigners, and immigrant minors in violation of their
nation’s laws and/or the U.S. immigration laws are arrested and detained.
The U.S. Congress must not provide due process rights to these lawless
refugees, trafficking victims, asylum seekers, slaves, stateless persons,
internally displaced persons, foreigners, and immigrants minors because
they are not U.S. Citizens and have no rights to due process and equal
protection under the law inside the United States. The U.S. Congress is to
punish them not reward them for the violation of the U.S. laws and/or the

laws of their nations. The. U.S. Congress under the U.S. Constitution who

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regulates commerce and foreign relations is not allowed to steal another
nation’s citizens being it is the labor force of another nation. Furthermore,
all laws passed by the U.S. Congress granting refugee, trafficking, slaves,
asylum seekers, internally displaced persons, stateless persons, foreigners,
and immigrant minors protection, due process, and U.S. Benefits is in direct
violation of the U.S. Constitution and must be repealed. All immigrant
minors, refugees, asylum seekers, slaves, stateless persons, internally
displaced persons, foreigners, and trafficking victims must be punished
and/or returned to their nation for judgement according to their nations laws.
The U.S. Congress is the only branch given the authority to deal with nations
whose citizens have entered the United States and violated the U.S. Laws

and/or laws of their nation.

An immigrant minor, refugee, asylum seeker, slave, internally displaced
person, stateless person, foreigner, or trafficking victim is only entitled to
come before the U.S. Court system upon application of citizenship after
residing permanently inside the United States for 5 years having entered
lawfully and not being in violation of the U.S. Immigration laws or other
U.S. Laws. Seeking asylum or refugee status would also be in violation of
the U.S. Constitution because the U.S. Constitution and the U.S.
Immigration Laws does not provide for any exception to citizenship
application based on asylum status, refugee status, stateless person status,
internally displaced person status, immigrant minor, or trafficking victim
status. This is exactly how the 1600 Communist NAZI scientist spies were
illegally allowed to gain entry and acquire fraudulent U.S. citizenship. The
U.S. Congress does not have the ability to discern the details of the lives of a

foreigner while living inside another nation. The U.S. Congress does not

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have the means and has not been provided the funds from the U.S.
Constitution to determine if an immigrant minor, refugee, trafficking victim,
internally displaced person, stateless person, or asylum seeker is telling the
truth and has not come into the United States to aid Federal Reserve Cartel
and United Nations to overthrow the U.S. Government. The U.S. funds can
only be used for the benefit of the U.S. Citizens and are not allowed to be
used for foreigners. For these reasons, the U.S. Constitution has provided no
exceptions on how to deal with refugees, trafficking victims, immigrant
minors, slaves, internally displaced persons, stateless persons, or asylum
seekers who have exit their nation without permission and/or entered the

United States without permission.

The United Nations and the North Atlantic Treaty Organization have no say
over how the United States addresses immigrant minors, refugees, internally
displaced persons, stateless persons, foreigners, and trafficking victims
because the U.S. Constitution is the Supreme Law of the land that must be
adhered to by the Legislature Branch, Executive Branch and Judicial
Branch. The U.S. Congress and the Federal Reserve System has no authority
under the U.S. Constitution to contribute the U.S. Citizens funds for the
benefit of citizens of other nations. Funds given to the United Nations and
the North Atlantic Treaty Organization is in violation of the U.S.
Constitution and has been theft of the U.S. Citizens funds and assets by the
Federal Reserve System and the United Nations recoverable in a court of
law inside the United States under the Supreme Court without the illegal
mind control system interfering with the real authentic U.S. Citizens due

process rights.

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From United Nations High Commissioner for Refugees from Wikipedia it is
stated:

“The United Nations High Commissioner for Refugees, the refugee agency
is a United Nations program with the mandate since 1950 for its’ members
with the United States being a member to protect refugees, forcibly
displaced communities, and stateless persons and assist in their voluntary

repatriation, local integration, or resettlement to a third country.”

From the United Nations High Commissioner for Refugees report of June,
2015
the refugees seeking asylum in the Americas were 7,726,594 of which
o 501,049 are refugees
o 251,888 are in refugee-like situations
© 276,394 have pending asylum cases
o 136,413 are stateless
o 6,520,270 internally displaced assisted by the UNHCR

The United Nations under the United Nations High Commission for Refugees
has and continues to participate in espionage activities since 1950 positioning
Communist spies for New World Order inside the United States beginning with
the Alsos Mission and Operation Paperclip which was in violation of the U.S.
Constitution. U.S. President Roosevelt and Truman had no authority to bring
1600 NAZI scientists, engineers, etc. into the United States under the Alsos
Mission and Operation Paperclip except as prisoners. The United Nations
cannot mandate that the United States accept any refugee, stateless person,

internally displaced person, trafficking victim, slave, foreigner, or immigrant

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minor because it is in violation of the U.S. Constitution, U.S. Immigration
Laws, and U.S. laws. The United Nations should be held financial and
criminally liable for the displacement of refugees inside the United States
caused by the United Nations and Federal Reserve Cartel false flag wars since
1945. The United Nations residing inside the United States is clearly a
communist organization which has aided the Federal Reserve Cartel and New
World Order to overthrow the legitimate U.S. government under the U.S.
Constitution and should be removed from inside the United States. The United
Nations, North Atlantic Treaty Organization, and the North Atlantic Treaty are
a threat to the domestic tranquility of the United States.

e insure domestic tranquility

The U.S. Constitution is clearly only concerned with rest, peace, and free
from attack on United States soil. The U.S. Constitution does not allow the
U.S. Legislature Branch, U.S. Executive Branch, and U.S. Judicial Branch to
be concerned about the tranquility inside foreign nations. Unless a nation
exhibits a clear and present danger to attack the United States within the
United States’ land (fifty states and District of Columbia) and U.S. waters
than there is no authorization for the U.S. Congress under the U.S.
Constitution to authorize the U.S. Military to evade a foreign nation and/or

declare war on a foreign nation.

Since the inception of the United States of America on Sept. 17, 1787 the
only nation that has aggressively attacked the United States on U.S. soil has

been the country of Mexico, yet the U.S. Congress refuses to place sanctions

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or declare war against Mexico an obvious enemy of the United States since

1917.

The United Nations and North Atlantic Treaty Organization has been an
antagonist to ensuring domestic tranquility. The United Nations is
headquartered inside the United States. The purpose and principles of the
United Nations from the Charter of the United Nations are to maintain
international peace and security, take collective measures for the prevention
and removal of threats to the peace, develop friendly relations based on the
principle of equal rights and self-determination of peoples, to solve
international problems, and to be the center for harmonizing these actions of

nations.

The United Nations purpose and principles are in opposition to the U.S.
Constitution that establishes a democratic government. The United Nations
promotes a world government where every nation who is a member is a
slave to the United Nations who steals the assets of the U.S. Citizens to
promote a World Government controlling all nations’ citizens and all

nations’ assets.

The U.S. Constitution is only interested in domestic tranquility and solving
problems for the U.S. Citizens. The U.S. Constitution directs the U.S.
Congress to resolve conflicts with other nations individually while
protecting the life, property, and liberty of the U.S. Citizens. The U.S.
Congress when negotiating treaties with foreign nations is required under
U.S. Law to ensure full employment, fair trade, and fair competition for the
real authentic U.S. Citizens. U.S. Congress also decides when to not renew

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or revoke a previous sign treaty with a foreign nation. The United Nations
and the World Trade Organization have no say over how the U.S. Congress
addresses relations and trade with foreign nations. Allowing the United
Nations and/or the World Trade Organization to control United States
relations and treaties with foreign nations is in violation to the U.S.

Constitution.

UNITED NATIONS CHARTER CHAPTER I: PURPOSES AND
PRINCIPLES FROM WIKIPEDIA

“Article 1
The Purposes of the United Nations are:

1. To maintain international peace and security, and to that end: to take
effective collective measures for the prevention and removal of threats to the
peace, and for the suppression of acts of aggression or other breaches of the
peace, and to bring about by peaceful means, and in conformity with the
principles of justice and international law, adjustment or settlement of
international disputes or situations which might lead to a breach of the
peace;

2. To develop friendly relations among nations based on respect for the
principle of equal rights and self-determination of peoples, and to take other
appropriate measures to strengthen universal peace;

3. To achieve international co-operation in solving international problems of an
economic, social, cultural, or humanitarian character, and in promoting and
encouraging respect for human rights and for fundamental freedoms for all

without distinction as to race, sex, language, or religion; and

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4. To be acentre for harmonizing the actions of nations in the attainment of

these common ends.

Article 2
The Organization and its Members, in pursuit of the Purposes stated in Article 1,

shall act in accordance with the following Principles.

1. The Organization is based on the principle of the sovereign equality of all its
Members.

2. All Members, in order to ensure to all of them the rights and benefits
resulting from membership, shall fulfill in good faith the obligations
assumed by them in accordance with the present Charter.

3. All Members shall settle their international disputes by peaceful means in
such a manner that international peace and security, and justice, are not
endangered.

4. All Members shall refrain in their international relations from the threat or
use of force against the territorial integrity or political independence of any
state, or in any other manner inconsistent with the Purposes of the United
Nations.

5. All Members shall give the United Nations every assistance in any action it
takes in accordance with the present Charter, and shall refrain from giving
assistance to any state against which the United Nations is taking preventive
or enforcement action.

6. The Organization shall ensure that states which are not Members of the
United Nations act in accordance with these Principles so far as may be
necessary for the maintenance of international peace and security.

7. Nothing contained in the present Charter shall authorize the United Nations

to intervene in matters which are essentially within the domestic jurisdiction

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of any state or shall require the Members to submit such matters to
settlement under the present Charter; but this principle shall not prejudice

the application of enforcement measures under Chapter Vil

Chapter VII

CHAPTER VII: ACTION WITH RESPECT TO THREATS TO THE
PEACE, BREACHES OF JHE PEACE, AND ACTS OF AGGRESSION

Article 39

The Security Council shall determine the existence of any threat to the peace,
breach of the peace, or act of aggression and shall make recommendations, or
decide what measures shall be taken in accordance with Articles 41 and 42, to

maintain or restore international peace and security.

Article 40

In order to prevent an aggravation of the situation, the Security Council may,
before making the recommendations or deciding upon the measures provided for in
Article 39, call upon the parties concerned to comply with such provisional
measures as it deems necessary or desirable. Such provisional measures shall be
without prejudice to the rights, claims, or position of the parties concerned. The
Security Council shall duly take account of failure to comply with such provisional

measures.

Article 41

The Security Council may decide what measures not involving the use of armed
force are to be employed to give effect to its decisions, and it may call upon the
Members of the United Nations to apply such measures. These may include
complete or partial interruption of economic relations and of rail, sea, air, postal,

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telegraphic, radio, and other means of communication, and the severance of

diplomatic relations.

Article 42

Should the Security Council consider that measures provided for in Article 41
would be inadequate or have proved to be inadequate, it may take such action by
air, sea, or land forces as may be necessary to maintain or restore international
peace and security. Such action may include demonstrations, blockade, and other

operations by air, sea, or land forces of Members of the United Nations.

Article 43

1. All Members of the United Nations, in order to contribute to the
maintenance of international peace and security, undertake to make available
to the Security Council, on its call and in accordance with a special
agreement or agreements, armed forces, assistance, and facilities, including
rights of passage, necessary for the purpose of maintaining international
peace and security.

2. Such agreement or agreements shall govern the numbers and types of forces,
their degree of readiness and general location, and the nature of the facilities
and assistance to be provided.

3. The agreement or agreements shall be negotiated as soon as possible on the
initiative of the Security Council. They shall be concluded between the
Security Council and Members or between the Security Council and groups
of Members and shall be subject to ratification by the signatory states in

accordance with their respective constitutional processes.

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Article 44

When the Security Council has decided to use force it shall, before calling upon a
Member not represented on it to provide armed forces in fulfilment of the
obligations assumed under Article 43, invite that Member, if the Member so
desires, to participate in the decisions of the Security Council concerning the

employment of contingents of that Member’s armed forces.

Article 45

In order to enable the United Nations to take urgent military measures, Members
shall hold immediately available national air-force contingents for combined
international enforcement action. The strength and degree of readiness of these
contingents and plans for their combined action shall be determined within the
limits laid down in the special agreement or agreements referred to in Article 43,

by the Security Council with the assistance of the Military Staff Committee.”

e provide for the common defense

Under the U.S. Constitution Article 1 Section 8 the U.S. Congress has the

power:

“To declare War, grant letter of Marque and Reprisal, and make Rules

concerning Captures on Land and Water;

To raise and support armies, but no appropriation of money to that use shall be

for a longer term than two years,
To provide and maintain a navy;

To make rules for the government and regulation of the land and naval forces;

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To provide for calling forth the militia to execute the Laws of the Union,

suppress insurrections and repel invasions”

Under the U.S. Constitution the Legislature Branch which is the U.S. Congress
has no authority to delegate its’ authority to negotiate with foreign nations and
declare war to the U.S. President or any member of the Executive Branch
and/or to the United Nations, the North Atlantic Treaty Organization, and North
Atlantic Treaty which is established under the Charter of the United Nations.
The United States has been lured year after year since 1950 to activate its’
military into foreign nations and/or declare war by the U.S. Presidents, U.S.
Ambassadors, U.S. Secretary of Defense, U.S. Secretary of State, United
Nations, and the North Atlantic Treaty Organization in violation of the U.S.
Constitution when no domestic threat has existed inside the United States
identifiable by any nation. The power to identify a threat to the U.S. Citizens’
domestic tranquility and declare war is the power of the U.S. Congress and
cannot be delegated under the U.S. Constitution which is the Supreme Law of

the Land.

The United Nations and the North Atlantic Treaty Organization is an
identifiable threat to the U.S Citizens domestic tranquility residing inside the
United States dedicating to the members of the United Nations to unite in war
against nations that are not a threat to the United States citizens on U.S. soil.
The U.S. Congress must immediately remove the United States Citizens from

the participation of the United Nations, the North Atlantic Treaty Organization,

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and North Atlantic Treaty with removing the United Nations from within the
United States for violations of the U.S. Constitution and U.S. Laws.

e promote for the general Welfare

The United States Legislature Branch, Executive Branch, and Judicial Branch
are to promote the general welfare of the U.S. Citizens and attribute U.S.
Benefits and State benefits only to U.S. Citizens and their future generations.
Immigrant minors, refugees, asylum seekers, internally displaced persons,
stateless persons, trafficking victims, and foreigners are not entitled to U.S.
Benefits because the U.S. Legislature Branch, Executive Branch and Judicial
Branch are not responsible for the welfare of immigrant minors, refugees,
asylum seekers, internally displaced persons, stateless persons, trafficking

victims and foreigners.

The United Nations mandate for the United States to provide for the welfare of
immigrant minors, refugees, asylum seekers, internally displaced persons,
stateless persons, trafficking victims and foreigners is in violation of the U.S
Constitution and is theft of U.S. and States benefits authorized by the United
Nations which is a threat to the U.S. Citizens welfare and financial security for
future generations. The United Nations since 1948 mandate on equal rights for
all has illegally forced states to accept immigrants, legal and illegal, into U.S.
and State public education institutions who have no right to public education
and has caused a detriment to the education and welfare of the real authentic
U.S. Citizens and the future generations of the real authentic U.S. citizens under

the U.S. Constitution. The immigrants’ illegal presence in U.S. and State

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education institutions has and continues to be an extreme high national security
risk to the real authentic U.S. Citizens because the immigrants today are the
majority operators of the unconstitutional World Order college mind control
systems inside the United States that attack the U.S. inside the United States
daily. The United Nations is the lead organization for World Order and is a
continuous real daily threat to the welfare and domestic tranquility of the U.S.

Citizens and their future generations.

The United Nations must be removed from inside the United States and the
United States must discontinue their relationship with the United Nations and
the North Atlantic Treaty Organization because both are a continuous real daily

threat to the welfare and domestic tranquility of the U.S. Citizens.

e Secure the blessing of Liberty

Under the U.S. Constitution the Legislature Branch, Executive Branch, and
Judicial Branch are to secure and maintain freedom for the U.S. Citizens. The
United Nations the head organization for World Order that maintains the illegal
college and university mind control systems denies the U.S. Citizens freedom
and liberty under the U.S. Constitution. It is unconstitutional for the United
Nations to promote and protect World Order illegal microchipping of the
United States citizens in their frontal lobe soon after birth. The World Order
college mind control systems control the U.S. citizens’ mind and bodily
functions stripping them of their freedom. Under the World Order’s college and
university mind control systems that the United Nations represent the U.S.

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Citizens are denied freedom of speech, freedom to bear arms, rights to their U.S
and State benefits, rights to their social security number and other identification,
rights to U.S. jobs, rights to U.S. education scholarships and grants, rights to
life, rights to property, rights to due process, and rights to equal protection
under the law. The operators of the college mind control systems mostly being
immigrants, dreamers, and anchor babies frame and use the real authentic U.S.

Citizens daily to kill Americans daily inside the U.S.

The United Nations and the North Atlantic Treaty Organization who serve
World Order not equal rights and self-determination for all people deny the US
Citizens’ rights to liberty, life, property, due process, and equal protection under

the law.

e to ourselves and our Posterity

Under the U.S. Constitution the Legislature Branch, Executive Branch, and
Judicial Branch are to provide the U.S. Citizens and their Posterity (future
generation) rights to liberty, life, property, due process, and equal protection

under the law.

The theft of U.S. Benefits and U.S. assets fostered by the United Nations and the
North Atlantic Treaty. Organization mandating the United States support of false
wars and support of refugees, trafficking victims, slaves, internally displaced
person, stateless persons, and immigrant minors in violation of the U.S.

Constitution has resulted in:

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e huge U.S. government deficits

e massive numbers of U.S. citizens not being college educated

© millions of yearly medical murders of U.S. citizens of all ages

e 17+ million U.S. Citizens unemployed

e million+ yearly U.S. Citizens casualties as result of the U.S. participation in
the United Nations and the North Atlantic Treaty Organization false wars and
as result of attacks within the United States by the New World Order mind

control and weather modification weapon systems.

THE UNITED NATIONS SECURITY COUNCIL

FUNCTIONS and POWERS
Article 24

1. In order to ensure prompt and effective action by the United Nations, its
Members confer on the Security Council primary responsibility for the
maintenance of international peace and security, and agree that in carrying
out its duties under this responsibility the Security Council acts on their
behalf.

2. In discharging these duties the Security Council shall act in accordance with
the Purposes and Principles of the United Nations. The specific powers
granted to the Security Council for the discharge of these duties are laid
down in Chapters VI, VII, VIII, and XII.

3. The Security Council shall submit annual and, when necessary, special

reports to the General Assembly for its consideration.

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Article 25
The Members of the United Nations agree to accept and carry out the decisions of

the Security Council in accordance with the present Charter.

Article 26

In order to promote the establishment and maintenance of international peace and
security with the least diversion for armaments of the world's human and economic
resources, the Security Council shall be responsible for formulating, with the
assistance of the Military Staff Committee referred to in Article 47, plans to be
submitted to the Members of the United Nations for the establishment of a system

for the regulation of armaments.

LIST OF THE U.S. AMBASSADORS TO THE UNITED NATIONS WHO
SERVED ALSO ON THE UNITED NATIONS SECURITY COUNCIL WHO
ALSO ROTATED IN AS PRESIDENT OF THE SECURITY COUNCIL

HERSHEL JOHNSON 1946-1947 FORMER U.S. DIPLOMAT 1941-1946

WARREN AUSTIN 1947-1953 FORMER SENATOR OF VERMONT 1931 -
1947

HENRY CABOT LODGE, JR. 1953-1960 FORMER SENATOR FROM
MASSACHUSETTS 1947-1953 HOUSE OF REPRESENTATIVE 1932-1936

ADLAI STEVENSON 1961-1965 FORMER GOVERNOR OF ILLINOIS 1949-
1953

ARTHUR GOLDBERG 1965-1968 FORMER ASSOCIATE JUSTICE OF
SUPREME COURT 1962-1965 FORMER SECRETARY OF LABOR 1961-1962

CHARLES YOST 1969-1971 US DIPLOMAT 1946-1961

GEORGE H.W. BUSH 1971-1973 FORMER US HOUSE OF
REPRESENTATIVE FOR STATE OF TEXAS 1967-1971

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JOHN SCALI 1973-1975 FORMER FOREIGN AFFAIRS ADVISOR FOR
PRESIDENT NIXON 1971-1973

DANIEL PATRICK MOYNIHAM 1975-1976 FORMER WHITE HOUSE
ADVISOR TO PRESIDENT NIXON 1969-1970 FORMER U.S. DIPLOMAT TO
INDIA 1973-1975

ANDREW YOUNG 1977-1979 FORMER U.S. HOUSE OF
REPRESENTATIVES FOR STATE OF GEORGIA 1973-1977

DONALD MCHENRY 1979-1981 FORMER EMPLOYEE OF U.S. STATE
DEPT 1963-1971

JEANE KIRKPATRICK 1981-1985 FORMER FOREIGN POLICY ADVISOR
FOR PRESIDENT REAGAN

‘VERNON WALTERS 1985-1989 FORMER DEPUTY DIRECTOR OF CIA
1972-1976

THOMAS PICKERING 1989-1992 FOMER US DIPLOMAT1974-1988
EDWARD PERKINS 1992-1993 FORMER DIPLOMAT 1985-1989

MADELEINE ALBRIGHT 1993-1997 FORMER MEMBER OF NATIONAL
SECURITY COUNCIL UNDER PRESIDENT CARTER

WILLIAM RICHARDSON, III 1997-1998 FORMER U.S. HOUSE OF
REPRESENTATIVE FROM NEW MEXICO 1983-1997

RICHARD HOLBROOKE 1999-2001 FORMER U.S. DIPLOMAT 1977-1996
JOHN NEGROPONTE 2001-2004 FORMER U.S. DIPLOMAT 1981-1996

JOHN DANFORTH 2994-2005 FORMER U.S. SENATOR FROM MISSOURI
1976-1995 :

JOHN BOLTON 2005-2006 FORMER U.S. ASSISTANT ATTORNEY
GENERAL 1985-1989

ZALMAY KHALILZAD 2007-2009 FORMER U.S. DIPLOMAT 2003-2007

SUSAN RICE 2009-2013 FORMER ASSISTANT SECRETARY OF STATE
1997-2001

SAMANTHA POWER 2013-2017 FORMER MEMBER OF U.S. STATE
DEPARTMENT 2008-2013

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NIKKI HALEY 2017 TO PRESENT FORMER GOVERNOR OF SOUTH
CAROLINA 2011-2017.

BARACK OBAMA, JAMES BAKER, AND AL GORE HAVE BEEN
CHAIRMAN OF THE UNITED NATIONS SECURITY COUNCIL.

Charter of the United Nations clearly states that the United Nations does not
have the authority to intervene in matters which are essentially within the
domestic jurisdiction of any state. The Charter of the United Nations Article

2 Section 7 states:

“Nothing contained in the present Charter shall authorize the United Nations
to intervene in matters which are essentially within the domestic jurisdiction
of any state or shall require the Members to submit such matters to
settlement under the present Charter; but this principle shall not prejudice

the application of enforcement measures under Chapter VII”

All U.S. Ambassadors to the United Nations also members of the United Nations
Security Council clearly from their previous career history were required to have a
full understanding of the U.S. Constitution. All U.S. Ambassadors know the U.S.
Congress from the U.S. Constitution is given the power to address conflicts with
foreign nations and immigration to the United States and cannot delegate this
power to the United Nations or NATO. No U.S. President, U.S. Secretary of State,
or U.S. Diplomat has the power to negotiate treaties, address conflicts with foreign
nations, and accept immigrants into the United States in violation to the U.S...

Immigration laws. All of the members of the United Nations Security Council

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have no excuse for violating the U.S. Constitution and U.S. Immigration and

Nationalization Laws.
ADDITIONAL ARGUMENTS PROVIDED IN EXHIBITS

EXHIBIT 57 — U.S. DISTRICT COURT OF EASTERN DISTRICT OF
LOUISIANA CASE 18 -3462 Vicki McLean, ET AL EX REL USA VS USS.
Federal Reserve System ET AL sealed filed April 2, 2018 under Patriot Act and
Espionage Act.

CONCLUSION

The United States membership in the United Nations on June 26, 1945 and in the
North Atlantic Treaty Organization with the North Atlantic Treaty on April 4, 1949
was in violation of the U.S. Constitution. The United States continued membership
and support of the United Nations, North Atlantic Treaty Organization, and North
Atlantic Treaty is in violation of the U.S. Constitution. The U.S. Citizens’ liberty,
life, property, due process, and equal protection under the law does not exist due to
the United Nations and the North Atlantic Treaty Organization promoting the
agenda of Federal Reserve Cartel and World Order’s control of all nations by way
of the unconstitutional mind control systems and weather modification systems.
The United Nations, United Nations Security Council, United Nations Economic
and Social Council, International Court of Justice, and United Nations
Development Group are liable for the physical and financial harm done to the real
authentic U.S. Citizens forcing the United States to participate in false flag wars
and give U.S. and State Benefits to immigrants with providing immigrants with

U.S. jobs not entitled to under the U.S. Constitution. United Nations is also liable

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for the immigrants’ court costs inside the United States that should have all been
handled by the United Nations since no immigrant under the U.S. Constitution has
rights to due process until non-fraudulent citizenship application has been made.
All fraudulent applications for U.S. citizenship has mostly resulted since the
1940’s due to the espionage activities of the League of Nations, United Nations,
and the Federal Reserve Cartel. All damages that have occurred to the U.S.
Citizens and U.S. Government due to fraudulent International Court of Justice
precedent not properly based on the U.S. Constitution and/or allowing the
university Law school mind control systems to alter court evidence and court
records with forging judge orders is also the responsibility of the Federal Reserve
Cartel and the United Nations. All funds given to the United Nations by the
Federal Reserve System to fund the United Nations budget and budget of the
United Nations Development Group has been theft and was not authorized under

the U.S. Constitution.

Vicki McLean, the Pro Se filer for the real authentic U.S. Citizens is requesting the
the Foreign Intelligence Surveillance Court and Supreme Court to move rapidly to
remove the United States from the United Nations, the North Atlantic Treaty
Organization, and the North Atlantic Treaty in violation of the U.S. Constitution
that poses a daily threat to the domestic tranquility of the U.S. Citizens. Vicki
McLean is also requesting of FISC and the Supreme court to authorize the
activation of the U.S. military to suppress the current uprising and protesting of all
immigrants throughout the country continuing to overthrow the U.S government
giving the U.S. Military the authority to arrest and detain immigrants in detention
camps for a minimum of | year up to ‘5 years to access the national security threat

_ of the immigrant’s entire history while living inside the United States with their

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entire chain migration and there associations with the University and College mind
control systems.. Vicki McLean is also requesting of the FISC and the Supreme
Court to authorize the activation of the U.S. Military along all U.S. borders and at
all international Airports and ports to arrest and detain all immigrants and their
children in the below categories to suppress the current massive invasion of
immigrants arriving daily to support the Federal Reserve Cartel and United Nations

continue control of the U.S. Government and the real U.S. Citizens:

e illegally entering the United States

e using fraudulent documentation and stolen social security numbers owned
by U.S. Citizens

e linked to family members using fraudulent documentation and stolen social

security numbers belonging to U.S. Citizens

All immigrants including all their immigrant children, dreamers and anchor babies
in the above categories are a threat to the U.S. National Security. The immigrant
children especially the dreamers and anchor babies past and present are a majority
of the college mind control system operators having stolen U.S. education funds
during their entire education from the real authentic U.S. Citizens’ children. For
these reasons the dreamers and anchor babies past and present who stole U.S.
education funds are the greatest threat to the U.S. national security. Britain and
Germany as early as 1900 used children as young as 8 years of age prior to the
development of the mind control system in their military. Today a child easily
under mind control can be used as early as age 4-5. This explains why most of the
U.S. spelling bees are won by the immigrant children today who’s intelligence has
been programmed by the mind control system. Immigrants and their children in the
American education system and colleges are the greatest threat to the U.S. National

Security capable of taking down military aircraft when working in the mind control

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systems. During the first week of April 2018 as U.S. President Trump was _
mobilizing U.S. military to the Mexican border the U.S. mind control system
operators has already taken down two military helicopters inside the United States.
The college mind control operators were also responsible for the Parkland
Highschool shootings likely using cell towers to control the entire population
especially the local police and firemen to not interfere with the success of the
shooters. The immigrant mind control operators at Broward College likely is
responsible for the uprising of the students of Parkland High School aim at taking
the real authentic U.S. Citizen’s automatic guns needed to take down all cell
towers throughout the country when illegal Marshall Law is ordered. The lead
student organizer for Parkland High School is an immigrant child having no right
to public education. Note almost all students shot and killed at Parkland High
School were real authentic U.S. Citizen children not immigrant children. Note also
the immigrant children. killed were Asian children giving more reasons to know the
Hispanic mind control operators with the Hispanic Cartel continues to do most
shootings in the United States. Note also an Asian immigrant under mind control
was used to do the YouTube shooting on April 3“ the day after Vicki McLean filed
the case against the Federal Reserve System. This further indicates that Hispanic
mind control operators and Hispanic Cartel likely did the shooting. For a long time
the Hispanic immigrant students were the dominant operators of the mind control
systems working with the Hispanic Cartel and the Asian immigrant doctors and
professors to do the mass yearly killing of Americans. More and more Asian
students are getting illegally university scholarships and grants for American
colleges. The Hispanic immigrants also have dominant numbers of fraudulent US.
Citizens working as attorneys in the U.S. today. There is appears to be a war inside
the U.S. between the Hispanic mind control operators and the Asian mind control

operators.

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The U.S. Department of Education immediately needs to require an official copy
of every student’s birth certificate sent to the U.S. Department of Education to
verify the student is a real authentic U.S. Citizen to provide U.S. education funds
reimbursement to the states. It will also help the U.S. Military identify which
students are immigrant students, immigrant dreamers, and immigrant anchor babies
having stolen U.S. education funds qualifying for arrest and detainment at the

public school by the U.S. Military.

The United Nations has no authority over any actions the United States must take
that is in accordance with the U.S. Constitution, U.S. Patriot Act, U.S. Espionage
Act, U.S. Trading with the Enemy Act, U.S. Immigration and Naturalization Act.
US. Alien Registration Act of 1940, U.S. McCarran Act of 1952, U.S. Bank
Secrecy Act, and International in Traffic in Arms Regulation Act to protect the
lives, property, and freedom of the real authentic U.S. Citizens. A case will be filed
against all the States in the Union for violation of the U.S. Constitution aiding and
abetting immigrants and their children to steal U.S. benefits especially education
benefits to mobilize the U.S. Military to arrest and detain all immigrant children,
dreamers and anchor babies of the above categories illegally attending public
schools for the theft of US. Benefits with their parents. A case against the state
will enable the FISC to acquire the list of all of all children in the above categories
registered currently in public schools to gain access to all public schools to arrest
and detain all immigrant children stealing U.S. education benefits. All immigrants
who have entered the U.S. illegally or born in the U.S. illegally are the financial
responsibility of the Federal Reserve Cartel and the United Nations who

orchestrated all migration across the globe for 100 years. The Federal Reserve

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Cartel and the United Nations would also be liable for the theft of all the U.S.
Intellectual Property by way of the illegal mind control system and UNESCO.

Because the U.S. Congress many being fraudulent U.S. Citizens continues to aid
the Federal Reserve Cartel and the United Nations by not activating the U.S.
Military to suppress and remove all immigrants and fraudulent U.S. Citizens in
violation the U.S. Constitution, U.S. Patriot Act, Espionage Act, U.S. Immigration
and Naturalization Act. US. Alien Registration Act of 1940, U.S. McCarran Act of
1952, and International in Traffic in Arms Regulation to protect the lives, property,
and freedom of the real authentic U.S. Citizens it is necessary for the Foreign
Intelligence Surveillance Court and the Supreme Court to use their authority to
protect the lives, property, and freedom of the real authentic U.S. Citizens. This
case will be followed up by separates cases filed for the U.S. Citizens against every
nation whose citizens have and continue to actively attempt to overthrow the U.S.
government having stolen U.S. and State Benefits and the identity of U.S. Citizens.
The first case will be filed within one to two weeks against the country of Mexico
then followed by cases against Cuba, China, India, Puerto Rico, etc. The countries
with the highest presence of immigrants inside the United States that have stolen
U.S. and State benefits and pose the greatest national security risks having
fraudulent citizens inside U.S. and State governments will determine the order in
which the nations are sued separately. Mexico poses the greatest national security
risks. NATEA should be discontinued immediately because there is surely enough
evidence against Mexico to consider declaring war against Mexico due to so many
Mexican citizens inside the U.S. using stolen U.S. social security numbers likely
greater than 11 million. Because there is great reasons to detect a majority of the

U.S. shooting are done by the Hispanic mind control operators and the Hispanic

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Cartels NAFTA should not be removed and all NAFTA visa holders should be

removed from the U.S. immediately by military escort.

Trade Treaties are powerful tools for the Federal Reserve Cartel and the United
Nations to move manpower, drugs, money, goods and equipment for global
espionage operations. For these reasons there may be a need to file a case against
the World Trade Organization which controls trade treaties for the Federal Reserve
Cartel. All UN Organizations and organizations working closely with the United
Nations, especially non-profit organizations, should be watch very closely

providing funds and manpower for espionage activities.

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GUIDANCE FOR THE COURT FROM
THE GOD OF TORAH

GENESIS 17:1-9

When Abram was ninety-nine years old, the Lord appeared to Abram, and said to
him, “I.am God Almighty; walk before me, and be blameless. And I will make my
covenant between me and you, and will make you exceedingly numerous.” Then
Abram fell on his face; and God said to him, “As for me, this is my covenant with
you: You shall be the ancestor of a multitude of Nations. No longer shall your name
be Abram, but your name shall be Abraham; for I have made you the ancestor of a
multitude of Nations. I will make you exceedingly fruitful; and I will make nations
of you, and kings shall come from you. I will establish my covenant between me and
you, and your offspring after you throughout their generations, for an everlasting
covenant, to be God to you and your offspring after you. And I will give to you, and
to your offspring after you, the land where you are now an alien, all the land of
Canaan, for a perpetual holding; and I will be their God. God said to Abraham, “As
for you, you shall keep my covenant, you and your offspring after you throughout

their generations.”

From history it is well known that Abraham’s descendants are citizens from all
nations. For this reason, a nation who disobeys the commandments and direction of
the Lord results in curses being passed down to the Nations’ fourth generations. All
descendants Abraham were given the Land of Canaan for a permanent holding. The —
transfer of sections of the Land of Canaan to other than Israel is not in agreement
with the everlasting contract made with the descendants of Abraham. Not only does
the U.S. Embassy of Israel has to be returned to Jerusalem but all land held by Syria
and Palestine that is of the Land of Canaan will also need to be returned to the Nation

of Israel.

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Certificate of Service

I, Vicki McLean, will hand deliver this case Vicki Fanning McLean ET AL EX
REL United States of America VS United Nations, ET All filed under the Patriot
‘Act and Espionage Act to the U.S. Attorney Office at 650 Poydras St. Suite 1600,
New Orleans, LA for the U.S. Attomey to U.S. Attomey'General Jeffery Sessions.

Uk fel)

Vicki McL¢an

Jw

/ : Apel A p0Pr
Respectfully submitted, } , 2018
Vb fl

Vicki McLean, Pro Se
P.O. Box 137

Spring, TX 77383
832-610-1059

